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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


         v.                                                 DECISION AND ORDER
                                                               11-CR-116S (7)
RICARDO ORTIZ-ROSA,

                     Defendant.

         Presently before this Court is Defendant Ricardo Ortiz-Rosa’s Motion for

Reconsideration (Docket No. 407) of this Court’s Decision and Order (Docket No. 406)

denying his request for reduction of sentence under 18 U.S.C. § 3582(c)(2). This is

essentially Defendant’s third application for a sentence reduction. As previously noted,

however, Defendant has been determined to be ineligible for relief under 18 U.S.C. §

3582(c)(2), both by this Court and the Second Circuit Court of Appeals. The matter is

therefore finally resolved and no further reconsideration is warranted.      Accordingly,

Defendant’s motion for reconsideration is denied.

         IT HEREBY IS ORDERED, that Defendant’s Motion for Reconsideration (Docket

No. 407) is DENIED.

         SO ORDERED.

Dated:         December 9, 2016
               Buffalo, New York



                                                       s/William M. Skretny
                                                      WILLIAM M. SKRETNY
                                                      United States District Judge
